Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                       Page 1 of 13 PageID 2215


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION



 NATIONAL ASSOCIATION FOR GUN
 RIGHTS, INC., et al.,

                     Plaintiffs,
                                                        Case No. 4:23-cv-00830-O
           v.

 MERRICK GARLAND, IN HIS OFFICIAL
 CAPACITY AS ATTORNEY GENERAL
 OF THE UNITED STATES, et al.,

                     Defendants.



        MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO STAY
              PRELIMINARY INJUNCTION PENDING APPEAL

        Defendants respectfully request that the Court stay its October 7, 2023 Opinion & Order

granting Plaintiffs’ Motion for Preliminary Injunction, ECF No. 53 (“Order”), pending Defendants’

appeal of that order, see ECF No. 63 (Notice of Appeal). Defendants face irreparable harm with each

day that the injunction, which disrupts the status quo by reversing decades of ATF classification

decisions determining that devices that function similarly to FRT-15s and WOTs are machineguns,

remains in effect. The injunction has expanded the market for these particular forced reset triggers

(“FRTs”) and will continue to do so. Moreover, ATF has no means to track the manufacturing, sales,

and transfers of FRTs that are occurring, let alone whether those involved in these actions are covered

by the Preliminary Injunction. If ATF is ultimately successful in this litigation, it will never be able to

fully locate and retrieve these thousands of devices or prevent them from being used in the

commission of violent crimes, and it will be forced to dedicate thousands of man-hours in attempting

to mitigate these harms. These irreparable and ongoing injuries to the Government and public

                                                    1
    Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                   Page 2 of 13 PageID 2216


outweigh any risk of injury to Plaintiffs if a stay is granted, and for the same reason, a stay is in the

public interest. Moreover, Defendants have shown a likelihood of success on the merits, particularly

given the court’s determination in United States v. Rare Breed Triggers, LLC, No. 23-cv-369 (NRM)

(RML), 2023 WL 5689770, at *15 (E.D.N.Y. Sept. 5, 2023), that the triggers at issue here are “highly

likely” to be machineguns. Accordingly, this Court should exercise its discretion to temporarily stay

the preliminary injunction during the pendency of Defendants’ Fifth Circuit appeal. At a minimum,

this Court should stay the parts of the injunction enjoining criminal enforcement proceedings and

affording relief beyond named Plaintiffs and for conduct beyond mere possession of FRTs classified

as machineguns.

                                            BACKGROUND

          Plaintiffs filed this action on August 9, 2023. Five days later, Plaintiffs moved for a temporary

restraining order enjoining Defendants from: initiating criminal or civil enforcement actions against

the Individual Plaintiffs1 based on their current or prior possession of forced reset triggers; seizing

Individual Plaintiffs’ FRTs; and requesting that Individual Plaintiffs voluntarily surrender FRTs. See

ECF No. 17 at 1. While that motion was pending, Plaintiffs moved for a preliminary injunction

seeking far broader relief enjoining Defendants from taking actions to enforce the FRT-15

classification decision against anyone. See ECF No. 34. This Court granted Plaintiff’s motion for a

temporary restraining order on August 30, 2023, enjoining Defendants from implementing or

enforcing the ATF’s definition of “machinegun” as against the Individual Plaintiffs. See ECF No. 36.

On October 7, 2023, the Court preliminarily enjoined Defendants from undertaking enforcement

actions related to a forced reset trigger device against “the Individual Plaintiffs and their immediate

families,” National Association for Gun Rights, Inc. (“NAGR”), Texas Gun Rights, Inc. (“TGR,”




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    The Individual Plaintiffs are Patrick Carey, Travis Speegle, and James Wheeler.
                                                     2
Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                      Page 3 of 13 PageID 2217


and, together with NAGR, the “Associational Plaintiffs”), Associational Plaintiffs’ members, “and the

downstream customers of any commercial member of an [Associational] Plaintiff.” Order at 42-43.

                                            ARGUMENT

        In determining whether to grant a stay pending appeal, this Court considers “(1) whether the

stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether the

applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will substantially

injure the other parties interested in the proceeding; and (4) where the public interest lies.” Nken v.

Holder, 556 U.S. 418, 426 (2009). Additionally, a stay pending appeal is appropriate where an injunction

“is not merely an erroneous adjudication of a lawsuit between private litigants, but an improper

intrusion by a federal court into the workings of a coordinate branch of the Government.” INS v.

Legalization Assistance Project, 510 U.S. 1301, 1305-06 (1993) (O’Connor, J., in chambers); see Heckler v.

Lopez, 463 U.S. 1328, 1330 (1983) (Rehnquist, J., in chambers); see also Adams v. Vance, 570 F.2d 950,

954 (D.C. Cir. 1978) (per curiam). Here, each of the relevant factors weighs heavily in favor of a stay

of the injunction pending appellate review.

        1. The Likelihood of Irreparable Harm to the Government and the Public Interest
           Favor a Stay

        Defendants will suffer irreparable harm absent a stay of the preliminary injunction. For the

same reason, a stay is in the public interest. See Nken, 556 U.S. at 435 (when the Government is a

party, its interests and the public interest “merge”). The Court’s preliminary injunction is sweeping in

scope, covering an unknown number of unidentified Associational Plaintiff members and their

“downstream customers” and broadly applying to any ATF conduct that “interfere[s with] the

possession, sale, manufacture, transfer, or exchange of FRTs based on the claim that FRTs are

machineguns.” Op. 42-43. It also turns the status quo on its head, legalizing devices that ATF has,

for decades, unequivocally deemed illegal machineguns. Indeed, ATF has classified devices that

function similarly to the FRT-15 and WOT as machineguns as early as 1975, and ATF has consistently

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Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                     Page 4 of 13 PageID 2218


maintained that position in classification decisions issued in 1994, 2004, 2005, 2006, and 2017. Ex. 1

¶ 12 (Saier Declaration). Allowing—for the first time ever—potentially thousands of unknown

individuals and entities to legally manufacture, possess, and distribute these FRTs has and will continue

to irreversibly introduce an exceedingly dangerous weapon into public commerce.

        It cannot be disputed that firearms equipped with FRT devices like the FRT-15 and WOT are

extremely dangerous. An AR-type firearm equipped with an FRT-15 can fire at a rate comparable to

an M16 machinegun—roughly 800 to 900 rounds per minute, irrespective of the shooter’s skill—and

often in an indiscriminate and uncontrolled fashion. Id. ¶¶ 11, 39. While crimes involving these types

of FRTs are likely underreported, ATF has encountered these devices in numerous criminal settings.

Id. ¶¶ 33-35. There is further evidence that FRT-15s are being distributed by manufacturers and third-

party sellers to countless individuals prohibited from receiving or possessing firearms under 18 U.S.C.

§ 922(g). Id. ¶ 36. Even absent malintent, these devices present a unique risk of injury. Because they

look like normal triggers, individuals and law enforcement may unknowingly acquire or recover a

firearm that has an FRT-15 or WOT type device installed, presenting safety concerns to users who

may not expect or be able to handle a weapon with a rapid rate of automatic fire. Id. ¶¶ 39-40.

        Even before the Court’s Order, ATF faced challenges in addressing the proliferation of these

type of FRT devices in the U.S. marketplace. The unlawful manufacture, importation, and distribution

of FRT-15 and WOT devices has been substantial. While ATF is unable to identify precise figures

due to the illicit nature of the market, from 2020 through 2023, the number of unlawfully

manufactured, imported, and distributed FRT machineguns likely exceeded the number of lawfully

manufactured and imported machineguns. Id. ¶ 20. Critically, ATF has no effective means of tracking

the manufacture, transfer, and possession of these types of devices. FRT-15s, and similar devices, are

being unlawfully sold, including online, without any of the background checks, identity verification,

registration, or recordkeeping required for sales of firearms. Id. ¶¶ 20-21. Subsequent transfers on

                                                   4
    Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                   Page 5 of 13 PageID 2219


the secondary market make it more difficult, if not infeasible, for ATF agents to ascertain the ultimate

recipient of such devices. Id. ¶¶ 19, 25. As a result, effectuating a single retrieval is massively resource

intensive. Even for those devices that remain with the initial purchaser, retrieval is estimated to

consume 16-to-24 ATF man-hours, id. ¶ 24, and presents real dangers to law enforcement officials

who have faced threats in the course of doing so, id. ¶ 28.

         The Preliminary Injunction will exponentially worsen the difficulties ATF already faces in

enforcing its classification of the FRT-15 and WOT against those not covered by the Order and make

it nearly impossible to recover FRT-15s and WOTs acquired under the Preliminary Injunction if ATF

prevails in this litigation. First, by insulating Associational Plaintiffs’ commercial members and their

“downstream customers” from liability, Order at 45, the Court’s injunction is anticipated to increase

manufacturing of these types of FRT devices and thus the total number of FRT machinegun-

conversion devices in circulation. Id. ¶ 30. As the Eastern District of New York court recognized in

finding the Government would face significant hardships absent an injunction against Rare Breed

Triggers, “thousands of illegal machineguns could be added to the current stockpile of FRT-15s

scattered throughout the country.” Rare Breed Triggers, LLC, 2023 WL 5689770, at *48.2

         Second, by protecting, for the first time, the sale and transfer of FRT-15s and WOTs by

Associational-Plaintiff members, see Order at 44-45, the Preliminary Injunction will facilitate more

transfers of these devices, further obscuring the acquirers’ identities from ATF and increasing the risk

of illicit misuse, Ex. 1 ¶ 43. Some of these acquirers will be prohibited persons or otherwise not

covered by the Preliminary Injunction. Id. ¶ 36. But given the lack of recordkeeping, registration, or




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  While this Court excluded Rare Breed Triggers from the scope of its injunction, third-party sellers
continue to distribute the FRT-15 and WOT, and other companies have developed “copy-cat” devices
that function akin to them. Ex. 1 ¶ 21. These individuals and entities may claim they are covered by
the Preliminary Injunction as members of Associational Plaintiffs, and ATF has no ability to
independently verify such claims. See ECF No. 57 ¶¶ 4, 7 (“Notice of Compliance”).
                                                     5
Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                       Page 6 of 13 PageID 2220


identity verification as well as ATF’s inability to identify the Associational Plaintiffs’ members, see ECF

No. 57 ¶¶ 4, 7, ATF will have limited capability to interdict the acquisitions, id. ¶ 36. Indeed, and by

way of example, ATF would have no way to identify an FRT-15 or WOT purchaser who did not

provide their true name (or any name) upon purchase and who paid in cash. And, if ATF is ultimately

successful in this action, these additional transfers (and re-transfers) will, at best, make recovery even

more challenging and resource intensive with each passing day. See Rare Breed Triggers, LLC, 2023 WL

5689770, at *48 (recognizing the Government would face hardship absent injunction because, if

ultimately successful, “[t]he Government would then be required to use its finite resources to track

these devices down at the expense of other priorities.”). At worst, the injunction will increase the

number of FRT-15s and WOTs unlawfully in the public domain that ATF is unable to retrieve, and

which may be used for unlawful ends with deadly consequences. Id. ¶¶ 27-28.

        The irreparable harm to the Government and public interest are compelling here. ATF has

no ability to know how many new weapons are being introduced in the U.S. market with each passing

day, who is acquiring them, and whether these manufacturers, sellers, and possessors are even covered

by the Court’s injunction. Absent a stay, if ATF is ultimately successful in this litigation, the

Preliminary Injunction will “have interfered with the Government’s authority to regulate and

confiscate FRT-15s” and similar devices, Rare Breed Triggers, 2023 WL 5689770, at *48, and effected

“an improper intrusion by a federal court into the workings of a coordinate branch of the

Government.” Legalization Assistance Project, 510 U.S. at 1305-06 (O’Connor, J., in chambers). And

that invasion would be permanent; simply put, this is not a cat that ATF can put back in the bag.

            2. Plaintiffs Are Not Substantially Injured by a Stay

        On the other hand, a stay pending appeal would not “substantially injure” Plaintiffs. Nken,

556 U.S. at 426. Notwithstanding this Court’s conclusions in the Order, Defendants respectfully

maintain that Plaintiffs have failed to identify any irreparable harm that is likely to occur absent a


                                                    6
Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                        Page 7 of 13 PageID 2221


preliminary injunction. See ECF No. 39 at 15-18 (Defs.’ Opp. to PI Mot.). Plaintiffs lived with ATF’s

classification of the FRT-15 as a machinegun for two years before filing suit, and that classification is

consistent with ATF’s treatment of similar devices since the 1970s. See Ex. 1 ¶ 12. Even assuming

Plaintiffs suffer any cognizable injury from ATF’s classification, there is no substantial harm to

Plaintiffs if the Court’s injunction is stayed during the pendency of an appeal, and certainly no harm

that would outweigh the irreparable injuries that the Government and public would otherwise suffer.

Individual Plaintiffs have already received repeated representations that ATF has no present plan to

take enforcement actions against them, and that it would notify the Court in advance of doing so.

And, not a single Plaintiff, nor their thousands of members, has claimed to have ever actually suffered

any civil or criminal enforcement action related to a device like the FRT-15 or WOT. Furthermore,

any temporary deprivation of rights would be minimal; Plaintiffs would at most be deprived of a

trigger modification device. They remain fully able (subject to other applicable laws) to continue to

enjoy the use of their firearms. Defendants therefore continue to assert that Plaintiffs failed to show

any likelihood of ongoing or imminent harm, as is required to obtain preliminary injunctive relief, see

Winter v. Natural Res. Def. Council, 555 U.S. 7, 20 (2008). But at a minimum, any harm to Plaintiffs

cannot outweigh the harms to the government created by allowing the unfettered manufacture and

transfer of these devices. Accordingly, there is no reason to conclude that a stay of the injunction

pending appeal will cause any substantial injury to Plaintiffs.

            3. Defendants Are Likely to Succeed on the Merits of their Appeal.

        Defendants’ appeal is likely to succeed on the merits. While this Court concluded that FRTs

like the FRT-15 and WOT are unlikely to fall within the statutory definition of machineguns, central

to its decision was the Fifth Circuit’s plurality opinion in Cargill v. Garland, 57 F.4th 447 (5th Cir. 2023)

(en banc), which this Court considered binding, see Order at 22-26. The Supreme Court recently granted

the Government’s petition for certiorari in Cargill. See Garland, et al. v. Cargill, No. 22-976 (Nov. 3,


                                                     7
Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                          Page 8 of 13 PageID 2222


2023). And a New York federal court determined that “the Government has demonstrated that it is

highly likely to succeed in proving that the FRT-15 satisfies the statutory definition of a machinegun,”

even in light of the Cargill plurality’s opinion, Rare Breed Triggers, LLC, 2023 WL 5689770, at *15.

Indeed, the Eastern District of New York court explained that Cargill “does not ultimately support

the result [Rare Breed] seek[s] when applied to the FRT-15’s trigger function” because “[n]ot only is

Cargill distinguishable . . ., but its analysis of the distinctions between various firearm-modification

devices in fact provides further grounds to find that the FRT-15 is a machinegun.” Id. at *23 (emphasis added);

see also id. at *24 (“[T]his Court respectfully disagrees that Cargill’s interpretation of § 5845(b) as applied

to non-mechanical bump stocks requires the same result as to the FRT-15. Indeed, . . . this Court

concludes that much of the reasoning in Cargill warrants the opposite conclusion.”).

        Defendants respectfully submit that the Eastern District of New York reads the Cargill

plurality correctly, establishing a likelihood of success on the merits pending appeal in this action. The

Cargill plurality was explicit that its reasoning applied only to non-mechanical bump stocks—devices

in which the shooter must both pull the trigger and push the weapon forward to repeatedly cycle the

weapon’s trigger against the shooter’s stationary finger for each shot. 57 F.4th at 453-54. The plurality

contrasted these devices with “mechanical” bump stocks like the Akins Accelerator, explaining that

its analysis of the term “single function of the trigger” as applied to non-mechanical bump stocks

“would not apply to the Akins Accelerator” because “a shooter using an Akins Accelerator need only

pull the trigger once to activate the firing sequence” and the device then “maintained the bump fire

of its own accord.” Id. at 462 n.8. Mechanical bump stocks such as the Akins Accelerator resemble

in function the FRTs at issue here: as with those devices, the shooter of an FRT-15 or WOT-equipped

firearm need only “pull the trigger once to activate the firing sequence,” which the device then

“maintain[s] . . . of its own accord.” Id.

        This Court nonetheless held that the Akins Accelerator is distinguishable from FRTs like the


                                                      8
    Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                    Page 9 of 13 PageID 2223


FRT-15 and WOT because the triggers on weapons equipped with the Akins Accelerator do not

“perform the same mechanical function as any normal trigger by releasing the hammer prior to each

shot.” Order at 30. That is mistaken. As the Cargill plurality recognized, for every shot from a weapon

equipped with an Akins Accelerator, the spring action of the device must force the weapon’s trigger

against the shooter’s finger to release the hammer, i.e., the firearm and trigger itself moves. Cargill, 57

F.4th at 454. Despite this fact, the Cargill plurality was clear that its analysis “would not apply to the

Akins Accelerator.” Id. at 462 n.8. Thus, FRTs like the FRT-15 cannot be distinguished from Akins

Accelerators on the grounds the Court invoked, and are no less machineguns.3

             4. At a Minimum, the Court Should Stay the Preliminary Injunction in Part.

         Even if this Court declines to stay the preliminary injunction in its entirety, it should stay those

parts of the injunction that prohibit criminal enforcement proceedings and afford relief beyond named

Plaintiffs and for conduct beyond mere possession of FRTs classified as machineguns. Defendants

are likely to succeed in showing on appeal that the Preliminary Injunction is substantially overbroad

and must be narrowed to cover only the named Individual Plaintiffs and to apply only to civil

enforcement, not criminal prosecution, for possession of unlawful FRTs.

         1. The Constitution assigns to the Executive Branch the “exclusive authority and absolute

discretion to decide whether to prosecute a case.” United States v. Nixon, 418 U.S. 683, 693 (1974).

The Fifth Circuit has therefore long made clear that, as a matter of the “constitutional separation of

powers,” federal courts should not “interfere with the free exercise of the discretionary powers” of

the Executive in initiating criminal prosecutions. United States v. Cox, 342 F.2d 167, 171 (5th Cir. 1965)

(en banc). Yet the Preliminary Injunction does just that, ordering the United States not to maintain



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 United States v. Camp similarly recognized that the movement of the factory trigger back and forth for
each shot fired does not preclude classification of a firearm as a machinegun so long as the weapon
“required only one action—pulling the switch [defendant] installed—to fire multiple shots.” 343 F.3d
743, 745 (5th Cir. 2003).
                                                      9
Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                       Page 10 of 13 PageID 2224


or initiate future criminal prosecutions based on treating FRT devices as machineguns. Plaintiffs have

identified no sound basis for granting such extraordinary relief in this case. To the contrary, neither

the APA nor principles of equity authorize a federal court to “restrain a criminal prosecution,” Younger

v. Harris, 401 U.S. 37, 43-44 (1971), based on a mere disagreement with the Executive’s interpretation

of a statute.

        In any hypothetical future prosecution, a defendant could raise as a defense the argument that

FRT-15s and WOTs are not machineguns, and the defendant would therefore have an “adequate

remedy at law,” foreclosing any anticipatory equitable relief like the Preliminary Injunction. Id.; see also

ECF No. 34 at 6-7 (Defs.’ Opp. to TRO Mot); ECF No. 39 at 20-22 (Defs.’ Opp. to PI Mot.). This

Court should refrain from usurping from sister courts the opportunity to hear and decide these

defenses and the appropriateness of the criminal charges filed within their jurisdictions. See W. Gulf

Mar. Ass’n v. ILA Deep Sea Loc. 24, 751 F.2d 721, 729 (5th Cir. 1985) (recognizing courts should “avoid

rulings which may trench upon the authority of sister courts”); Ex. 1 ¶ 38 (noting ongoing criminal

prosecutions outside the Northern District of Texas involving charges related to unlawful possession

of FRT devices).

        The remaining Nken factors also strongly favor such a stay of the parts of the Preliminary

Injunction that prohibit criminal enforcement proceedings. The Government’s criminal enforcement

proceedings pertaining to FRT-15s and WOTs have mainly targeted those individuals charged with

multiple other gun-related felonies. See ECF No. 39 at 14 (Defs.’ Opp. to PI Mot.). Given their

related criminal conduct and history, those individuals have been determined to pose the greatest

threat to public safety. Ex. 1 ¶ 24. And because the Plaintiffs claim to be otherwise “law-abiding”

gun owners, ECF No. 33 at 9 (Pls.’ Reply in Supp. of Mot. for TRO), they cannot claim that they will

suffer substantial injury if the injunction is stayed as to criminal enforcement proceedings.

        2. The Preliminary Injunction should also be stayed insofar as it extends beyond the named


                                                    10
Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                      Page 11 of 13 PageID 2225


Plaintiffs and beyond possession to permit the continued manufacturing, distribution, and transfer of

FRTs like the FRT-15 and WOT. As explained, these devices are sold without the background checks

or recordkeeping ordinarily required of firearms, which will make it extremely difficult—if not

impossible—for ATF to attempt to track down and retrieve these devices if ultimately successful in

this litigation. These risks are particularly acute as to the Associational Plaintiffs’ unknown members

and downstream customers, as ATF cannot identify these thousands of individuals and entities or

determine whether they pose public safety threats. Narrowing the injunction to the named Plaintiffs

and to possession will strike a better balance between protecting Plaintiffs’ alleged interest in accessing

these devices while mitigating the irreparable harms that the Government and the public will face

from the manufacture, distribution, and transfer of these devices while this litigation proceeds. See

Order at 40 (describing the “status quo” the Court was preserving as “no prosecution for FRT

possession or ownership by these Plaintiffs”).

                                           CONCLUSION

        For all these reasons, the Court should stay the preliminary injunction pending the Fifth

Circuit’s resolution of Defendants’ appeal or, at a minimum, stay the preliminary injunction insofar as

it enjoins criminal proceedings and affords relief beyond named Plaintiffs and for conduct beyond

mere possession of FRTs classified as machineguns. Finally, in light of the significant harms to the

Government, Defendants respectfully request that the Court issue an order on this Motion on or

before November 16, 2023.




                                                    11
Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23        Page 12 of 13 PageID 2226


DATED: November 6, 2023             Respectfully submitted,

                                    BRIAN M. BOYNTON
                                    Principal Deputy Assistant Attorney General

                                    ALEX HAAS
                                    Branch Director

                                    BRIGHAM J. BOWEN
                                    Assistant Branch Director

                                    /s/ Laura B. Bakst
                                    LAURA B. BAKST
                                    MICHAEL P. CLENDENEN
                                    ALEXANDER W. RESAR
                                    Trial Attorneys
                                    Civil Division, Federal Programs Branch
                                    U.S. Department of Justice
                                    1100 L Street, NW
                                    Washington, DC 20005
                                    Phone: (202) 514-3183
                                    E-mail: laura.b.bakst@usdoj.gov

                                    Counsel for Defendants




                                     12
Case 4:23-cv-00830-O Document 64-2 Filed 11/06/23                    Page 13 of 13 PageID 2227


                                       Certificate of Service

       On November 6, 2023, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                         /s/ Laura B. Bakst




                                                 13
